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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

        VS                                                             CASE NO. 3:97cr111 LAC

YVEMYRTH ST. HILAIRE

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on APRIL 10, 2008
Motion/Pleadings: MOTION FOR RECONSIDERATION OF JUDGE’S ORDER OF MARCH
20, 2008 (#353), DENYING DEFENDANT’S MOTION FOR REDUCTION OF HIS
SENTENCE AND SUPERVISED RELEASE, PURSUANT TO §3582(c)(2)
Filed by DEFENDANT PRO SE              on 4/10/08   Doc.# 355

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
         Stipulated            Joint Pldg.
         Unopposed             Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon    consideration     of   the   foregoing,       it   is    ORDERED    this    11 th   day   of
April, 2008, that:
(a) The relief requested is DENIED.
(b)




                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge
Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
